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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

GARY LEON WEBSTER                                                                       PLAINTIFF
ADC #114018

v.                                Case No. 3:20-cv-00325-LPR

MICHELE JONES                                                                        DEFENDANT


                                           JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that Plaintiff

Gary Leon Webster’s Complaint is DISMISSED without prejudice. The Court certifies pursuant

to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken from the Order and Judgment

dismissing this action is considered frivolous and not in good faith.


       IT IS SO ADJUDGED this 2nd day of November 2020.



                                                       ________________________________
                                                       LEE P. RUDOFSKY
                                                       UNITED STATES DISTRICT JUDGE
